Case: 2:17-cv-00720-EAS-EPD Doc #: 46-4 Filed: 11/16/18 Page: 1 of 21 PAGEID #: 854




                             EXHIBIT 3
Case: 2:17-cv-00720-EAS-EPD Doc #: 46-4 Filed: 11/16/18 Page: 2 of 21 PAGEID #: 855
Case: 2:17-cv-00720-EAS-EPD Doc #: 46-4 Filed: 11/16/18 Page: 3 of 21 PAGEID #: 856
Case: 2:17-cv-00720-EAS-EPD Doc #: 46-4 Filed: 11/16/18 Page: 4 of 21 PAGEID #: 857
Case: 2:17-cv-00720-EAS-EPD Doc #: 46-4 Filed: 11/16/18 Page: 5 of 21 PAGEID #: 858
Case: 2:17-cv-00720-EAS-EPD Doc #: 46-4 Filed: 11/16/18 Page: 6 of 21 PAGEID #: 859




                          EXHIBIT A
DOC ID ----> 201625400014
          Case: 2:17-cv-00720-EAS-EPD Doc #: 46-4 Filed: 11/16/18 Page: 7 of 21 PAGEID #: 860
DOC ID ----> 201625400014
          Case: 2:17-cv-00720-EAS-EPD Doc #: 46-4 Filed: 11/16/18 Page: 8 of 21 PAGEID #: 861
DOC ID ----> 201625400014
          Case: 2:17-cv-00720-EAS-EPD Doc #: 46-4 Filed: 11/16/18 Page: 9 of 21 PAGEID #: 862
DOC ID ----> 201625400014
         Case: 2:17-cv-00720-EAS-EPD Doc #: 46-4 Filed: 11/16/18 Page: 10 of 21 PAGEID #: 863
Case: 2:17-cv-00720-EAS-EPD Doc #: 46-4 Filed: 11/16/18 Page: 11 of 21 PAGEID #: 864




                          EXHIBIT B
Case: 2:17-cv-00720-EAS-EPD Doc #: 46-4 Filed: 11/16/18 Page: 12 of 21 PAGEID #: 865
Case: 2:17-cv-00720-EAS-EPD Doc #: 46-4 Filed: 11/16/18 Page: 13 of 21 PAGEID #: 866




                          EXHIBIT C
DOC ID ----> 201700502616
         Case: 2:17-cv-00720-EAS-EPD Doc #: 46-4 Filed: 11/16/18 Page: 14 of 21 PAGEID #: 867
DOC ID ----> 201700502616
         Case: 2:17-cv-00720-EAS-EPD Doc #: 46-4 Filed: 11/16/18 Page: 15 of 21 PAGEID #: 868
DOC ID ----> 201700502616
         Case: 2:17-cv-00720-EAS-EPD Doc #: 46-4 Filed: 11/16/18 Page: 16 of 21 PAGEID #: 869
Case: 2:17-cv-00720-EAS-EPD Doc #: 46-4 Filed: 11/16/18 Page: 17 of 21 PAGEID #: 870




                          EXHIBIT D
DOC ID ----> 201801700160
         Case: 2:17-cv-00720-EAS-EPD Doc #: 46-4 Filed: 11/16/18 Page: 18 of 21 PAGEID #: 871
DOC ID ----> 201801700160
         Case: 2:17-cv-00720-EAS-EPD Doc #: 46-4 Filed: 11/16/18 Page: 19 of 21 PAGEID #: 872
DOC ID ----> 201801700160
         Case: 2:17-cv-00720-EAS-EPD Doc #: 46-4 Filed: 11/16/18 Page: 20 of 21 PAGEID #: 873
DOC ID ----> 201801700160
         Case: 2:17-cv-00720-EAS-EPD Doc #: 46-4 Filed: 11/16/18 Page: 21 of 21 PAGEID #: 874
